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              EXHIBIT 3
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


RICHARD ROSARIO,

                  Plaintiff,

    -against-
                                                  18-cv-4023 (LGS)
THE CITY OF NEW YORK, et al.,


                Defendants.



                  DECLARATION OF RACHEL G. SKAISTIS
         IN SUPPORT OF PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES

        RACHEL G. SKAISTIS, an attorney admitted to practice in the State of New York and

 the Southern District of New York, declares under penalty of perjury as follows:

        1.      I am a partner of the law firm Cravath, Swaine & Moore LLP (“CSM”). I write

 in support of the attorneys’ fee application submitted in the above-captioned matter by

 plaintiff’s counsel Neufeld Scheck & Brustin, LLP (“NSB”), a firm whose principals I have

 worked with on two prior occasions. Based upon my experience as a lawyer practicing in New

 York City, my observations and interactions with NSB’s lawyers and my knowledge of

 prevailing rates for attorneys of their high caliber in New York City, I support NSB’s

 application under 42 U.S.C. Section 1988 in all respects.

        2.      I provide a brief description of my professional background to assist the Court in

evaluating my declaration. After graduating cum laude from Cornell Law School in 1997, I joined

CSM as a litigation associate. In 1999, I left CSM to clerk for the Hon. Shira A. Scheindlin of the

United States District Court for the Southern District of New York. Following my clerkship, I

rejoined CSM, where I was elected a partner in 2004.



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       3.      Over the past two-and-a-half decades, I have handled a wide variety of general

litigation, arbitration and appellate matters, including employment disputes, securities, bankruptcy

and commercial/contract, as well as complex federal litigation. I have represented clients in matters

involving the Foreign Corrupt Practices Act, the False Claims Act, insider trading, accounting and

securities fraud and governance issues, and in many of these matters there were millions of dollars at

issue. In 2021, I was included in Crain’s New York Business’s list of “Notable Women in Law.”

        4.      CSM litigates on behalf of clients in a wide range of industries and practice

areas. We are generally compensated through hourly fee arrangements. Accordingly, based

on my experience practicing law in New York City, I am generally familiar with the prevailing

hourly rates charged by New York City law firms.

        5.     I am also personally familiar with the work of NSB and the firm’s expertise in

wrongful conviction litigation. From 2018 to 2019, I worked with NSB on a wrongful

conviction case also against New York City, specifically with Nick Brustin, Emma

Freudenberger and Amelia Green. CSM was initially retained to prosecute the case alone as a

Section 8-b claim under the New York Court of Claims Act. I subsequently consulted with

NSB to determine whether there were also actionable civil rights claims under 42 U.S.C. §

1983. When we determined that there were in fact such claims, based on my observations of

their knowledge and skill during that process and their reputation as highly-skilled litigators in

this area, I recommended to our client that he retain NSB as co-counsel to work with CSM.

After approximately 15 months of work, which included extensive document discovery, legal

analysis, and a deposition of our client under General Municipal Law Section 50-h, we were

able to settle that case with the Comptroller before filing the complaint. We also reached a

settlement in the corresponding Section 8-b action in the New York Court of Claims at the


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expert discovery stage.

       6.       I also had occasion to observe NSB’s work when I represented a third-party

witness during a separate § 1983 wrongful conviction case in 2010. Based on my experience

in these matters, I believe that issues in § 1983 wrongful conviction litigation are just as

complex as the federal litigation I more typically work on, and expertise in this area is critically

important to a successful outcome.

       7.       My understanding is that the hourly rates charged by the counsel and paralegals

involved in this litigation under prevailing rates in the Southern District of New York market are as

follows:

           Name of Counsel                 Role                       Hourly
                                                                      Rate
           Nick Brustin                    Partner                    900
           Anna Benvenutti                 Partner                    800
           Hoffmann
           Emma Freudenberger              Partner                    800
           Amelia Green                    Partner                    500
           Len Kamdang                     Senior Associate           450
           Richard Sawyer                  Senior Associate           450
           Sona Shah                       Senior Associate           450
           Bettina Roberts                 Senior Associate           425
           Christina Matthias              Senior Associate           425
           Katie McCarthy                  Senior Associate           425
           Avinash Samarth                 Associate                  400
           Katie Haas                      Associate                  400
           Kate Fetrow                     Associate                  375
           Gerardo Romo                    Associate                  350
           Rhianna Rey                     Associate                  325
                                           Paralegals/ Law            200
                                           Clerks

       8.       In my professional judgment, these hourly rates are very reasonable in the Southern

District of New York market for a complex case like the Rosario litigation, particularly given the

experience and skill of NSB’s attorneys.


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       9.       Indeed, in my experience, the partners’ rates and rates of NSB associates are

lower, and in some cases substantially lower, than the prevailing rates at the major Southern District

of New York law firms for lawyers of comparable skill and experience in complex federal litigation.

       10.      In my professional judgment, based on their skill, reputation, experience, and

outstanding result in this case, NSB attorneys merit compensation here at the top of the relevant

market range.

       11.      I swear under penalty of perjury that the foregoing is true and correct.




Dated: October 3, 2022                                ___________________________
       New York, New York                             Rachel G. Skaistis, Esq.

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